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                     THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              SHERMAN DIVISION

IN RE:                                         §   CHAPTER 11
                                               §
GTL (USA), INC.                                §   CASE NO. 15-40248
                                               §
               Debtor.                         §
                                               §

     MOTION OF THE GTL CREDITORS TRUST FOR ENTRY OF AN ORDER
  (I) AUTHORIZING FINAL DISTRIBUTIONS TO CREDITORS; (II) ENTERING
           FINAL DECREE; (III) CLOSING BANKRUPTCY CASE;
                      AND (IV) RELATED RELIEF

       NO HEARING WILL BE CONDUCTED ON THIS MOTION UNLESS A
       WRITTEN OBJECTION IS FILED WITH THE CLERK OF THE UNITED
       STATES BANKRUPTCY COURT AND SERVED UPON THE PARTY
       FILING THIS PLEADING WITHIN TWENTY-ONE (21) DAYS FROM
       THE DATE OF SERVICE UNLESS THE COURT SHORTENS OR
       EXTENDS THE TIME FOR FILING SUCH OBJECTION. IF NO
       OBJECTION IS TIMELY SERVED AND FILED, THIS MOTION SHALL
       BE DEEMED TO BE UNOPPOSED AND THE COURT MAY ENTER AN
       ORDER GRANTING THE RELIEF SOUGHT. IF AN OBJECTION IS
       FILED AND SERVED IN A TIMELY MANNER, THE COURT WILL
       THEREAFTER SET A HEARING. IF YOU FAIL TO APPEAR AT ANY
       SCHEDULED HEARING, YOUR OBJECTION MAY BE STRICKEN.
       THE COURT RESERVES THE RIGHT TO SET A HEARING ON ANY
       MATTER.

       The GTL Creditors Trust (the "Trust"), hereby files this Motion for Entry of an Order (I)

Authorizing Final Distributions to Creditors; (II) Entering Final Decree; (III) Closing

Bankruptcy Case; and (IV) Related Relief (the "Motion"), and in support of the Motion

respectfully represent as follows:




MOTION OF THE GTL CREDITORS TRUST FOR ENTRY OF AN ORDER (I) AUTHORIZING FINAL DISTRIBUTIONS
TO CREDITORS; (II) ENTERING FINAL DECREE; (III) CLOSING BANKRUPTCY CASE;
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                                 JURISDICTION AND VENUE

          1.   This Court has jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 157

and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is proper before

this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                         BACKGROUND

          2.   On February 9, 2015 (the "Petition Date"), GTL (USA), Inc. (the "Debtor") filed

its voluntary petition for relief under chapter 11 of the Bankruptcy Code (the "Bankruptcy

Case").

          3.   On August 8, 2015, the Debtor filed its First Amended (Revised) Plan of

Reorganization Pursuant to Chapter 11 of the Bankruptcy Code [Doc. No. 272] (the "Plan").

          4.   On August 26, 2015, the Court entered an order confirming the Plan [Doc. No.

305] (the "Confirmation Order").

          5.   On September 10, 2015, the Debtor filed the Notice of Effective Date of Debtor's

First Amended (Revised) Plan of Reorganization [Docket No. 317] providing that the Plan's

effective date (the "Effective Date") was September 10, 2015.

          6.   As per the terms of the Plan, the Trust was funded via payments by the Debtor

and Emirates International Holdings Limited LLC.           Thereafter, for the convenience of the

applicable parties in interest and to save the estate the cost of securing a third party escrow agent,

the Trust agreed to act as escrow agent solely for the purposes of distributing settlement

payments under the terms of the Plan to: (a) Informage SQN Technologies, LLC; (b) AutOOpt

Networks, Inc.; and (c) Radha Krushn Communications, Inc. Such payments were made on or

about the Effective Date.



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       7.      As per the terms of the Plan, the Trust, through Corporate Recovery Associates,

LLC as the GTL Creditor Trustee (the "Trustee") and Richard Feferman as Senior Managing

Director of Corporate Recovery Associates, LLC, is tasked with various matters including

reviewing pre-petition claims against the Debtor, negotiating settlements, and otherwise

determining which claims are objectionable.

       8.      On January 12, 2016, the Trust filed the Motion for Order Granting Authority to

Make Interim Distributions to Creditors [Doc. No. 356] (the "Interim Distribution Motion"). By

the Interim Distribution Motion, the Trustee sought to pay certain priority claims in full, as well

as 10% of certain undisputed general unsecured claims. The Interim Distribution Motion also

provided a comprehensive listing of all priority and general unsecured claims that would not

receive an interim distribution and the specific reasons therefor.      The Interim Distribution

Motion defined any alleged claim that was not scheduled and for which no proof of claim was

filed as a "Unasserted Claim."

       9.      There were no objections to the Interim Distribution Motion. On February 12,

2016, the Court entered an order grating the Interim Distribution Motion [Doc. No. 363] (the

"Interim Distribution Order"). Among the provisions of the Interim Distribution Order was the

following: "The Trustee is not required to reserve funds on account of Unasserted Claims and the

Trustee is hereby released from any liability for failing to reserve Trust funds on account of an

Unasserted Claim.

       10.     Following entry of the Interim Distribution Order, the Trustee continued to

analyze and negotiate claims, resulting in additional withdrawn claims and related agreements.

The Trustee has now concluded that, on a cost/benefit basis, it is appropriate to seek to pay the



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remaining priority and general unsecured claims, to perform the administrative matters

associated with closing out the Trust, and to seek the closing of this bankruptcy case.

                      RELIEF REQUESTED AND BASIS THEREFOR

       11.     By this Motion, the Trust seeks entry of an order (the "Final Order"), substantially

in the form attached hereto as Exhibit A: (i) authorizing final distribution to priority and general

unsecured creditors as set forth below; (ii) entering a final decree; (iii) closing the bankruptcy

case; and (iv) granting related relief as set forth in the Final Order deemed by the Trustee

necessary to close out the Trust including, without limitation, retaining and paying tax

withholdings to the IRS deemed necessary by the Trustee, filing tax returns on behalf of the

Trust, final payments to Trust professionals, and a possible additional distribution to creditors if

there are available funds over and above the funds that, in the judgment of the Trustee, were

reserved to accomplish the final Trust administrative matters.

       12.      The Trustee seeking to close the bankruptcy case is specifically provided for in

the Plan. See Plan Section 14.6. In addition, Bankruptcy Code section 350(a) provides that

"[a]fter an estate is fully administered . . . the court shall close the case." Courts have held that

an estate is "fully administered" at the point of "substantial consummation" of a plan, as defined

in Bankruptcy Code section 1101(2). As provided in paragraph 13 of the Confirmation Order,

the Plan was substantially consummated following the Effective Date and the distributions that

were made under the Plan to the Trust, Informage SQN Technologies, LLC, AutOOpt Networks,

Inc., and Radha Krushn Communications, Inc. Moreover, the Plan has been "fully administered"

because the Trustee has determined the universe of claimants entitled to distributions and further

determined that additional negotiations and/or claim objections do not meet the cost/benefit

analysis test for the limited resources held by the Trust.

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         13.      The Trust also notes that certain activities of the Trustee are likely to occur

following the closing of the bankruptcy case and the entry of the final decree (for example,

making the final distribution payment, paying Trust professionals, finalizing the Trust tax return,

and perhaps making an additional distribution out of remaining reserve funds). However, the

fact that there will be post-closing responsibilities is not a basis for delaying the entry of a final

decree and closing a fully administered bankruptcy case. See Advisory Committee Note to

Federal Rule of Bankruptcy Procedure ("Entry of a final decree closing a chapter 11 case should

not be delayed solely because the payments required by the plan have not been fully

completed."); see also In re Aquatic Development Group, Inc., 352 F.3d 671, 676 n.5 (2d Cir.

2003) (providing that a bankruptcy case may be closed when it has been substantially

consummated even if an adversary proceeding is still pending).

                 CLAIMS TO BE INCLUDED IN THE FINAL DISTRIBUTION

         14.      Following entry of the Final Order, the following claims will be included in the

Trustee's final distribution to creditors.

Priority Claims1

           Claimant                      Proof of Claim                  Claim            Distribution Amount
                                       Number / Scheduled               Amount
                                             Claim
California Franchise Tax              29-1                                 $800.00 $821.85
Board
Collin County Tax                     11-1                               $3,206.52 $3,310.15
Assessor/Collector


1
  Priority claims to be paid in the final distribution are entirely Allowed Priority Tax Claims (as defined in the Plan).
Pursuant to the Plan, such Allowed Priority Tax Claims are entitled to be paid in full, with 4.25% per annum interest
calculated from the Effective Date, in accordance with Bankruptcy Code section 511(a). The Trust calculated the
interest payable by analyzing when the claim arose as per the respective taxing authority's proof of claim and using
the best information otherwise available to the Trust with respect to the claims. Interest is calculated through May
15, 2016. If the Distribution Date ultimately occurs after that date, the Trust will revise the payment amounts
accordingly.
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           Claimant                     Proof of Claim                 Claim           Distribution Amount
                                      Number / Scheduled              Amount
                                            Claim
Tennessee Department of              54                                  $500.00 $503.54
Revenue


General Unsecured Claims

                                  Proof of Claim            Claim             Interim                Second
         Claimant                    Number /              Amount           Distribution          Distribution:
                                    Scheduled                               (previously           Total of 25%
                                      Claim                                 made): 10%
Abdul Qureshi                     Scheduled              $32,000           $3,200              $4,800
ADA India (Ada                                           $3,760.00         $0                  $9402
Cellworks Engineering
Pvt., Ltd.)                       Scheduled
All Stars Transportation          Scheduled        $2,400                  $0                  $600
                                  Pursuant to      $15,000.00              $03                 $3,750
Amanda Morreale aka
                                  Settlement [Doc.
Amanda Rose Pacovsky
                                  No. 345]
                                  27-1             $42,875.59              $4,287.56           $6,431.33
American Express
Ascom Network Testing             25-1                   $231,264.58 $23,126.46                $34,689.69
Inc
A Shred 2 Pieces                  7-1                    $199.95           $0                  $199.954
                                  8-2                    $1,275.00         $127.50             $191.25
Atiya Jogezai
Atmos Energy                      41-1                   $135.96           $13.60              $20.40
Corporation
                                  Pursuant to            $145,433.37 $14,543.34                $21,815.01
Avis Budget Group                 settlement
                                  [Doc. No. 355]
                                  6-1                    $127,461.00 $12,746.10                $19,119.15
BeetaTek Inc
Communication              Scheduled                     $6,000.00         $600.00             $900.00
Infrastructure Corporation


2
  Amount is prior to federal tax withholding for non-U.S. creditors that will be withheld by the Trustee and paid to
the IRS as required under the law.
3
  A $1,500 check was initially sent by the Trustee payable to Amanda Morreale. As per agreement between Ms.
Morreale's counsel and the Trustee, the original check was returned to the Trustee and the final check will be
payable to Ms. Morreale's counsel.
4
  Claim was filed as secured. While the Trust disputes that this creditor is entitled to a secured claim, the Trustee
determined not to spend limited Trust resources filing an objection to same.
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                                  Proof of Claim            Claim            Interim                Second
         Claimant                    Number /              Amount          Distribution          Distribution:
                                    Scheduled                              (previously           Total of 25%
                                      Claim                                made): 10%
                                  Scheduled              $752.34          $75.23               $112.85
Electro Rent Corporation
                                  26-2                   $76,019.72       $7,601.98            $11,402.97
ESA P Portfolio L.L.C
                                  9-1                    $811.88          $81.19               $121.79
Flashback Data, LLC
Fleetcor                          33-15                  $9,945.67        $658.69              $988.04
Technologies/Universal
Premium
                                  Scheduled              $2,439.75        $243.98              $365.97
Fleetmatics Group, PLC
Global Proserve Limited           Scheduled              $193,277.73 $0                        $48,319.436
                                  39-1                   $64,907.11 $6,490.71                  $9,736.07
Hertz Corporation
JDS Uniphase                      Scheduled              $77,333.54       $7,733.36            $11,600
Corporation
                                  19-1                   $1,400.00        $140.00              $210.00
Kadakkal Staffing LLC
Level 3 Communications,           14-1                   $111.08          $11.10               $16.67
LLC
Marlin Business Bank              21-1                   $1,636.37        $0                   $409.09
(Nevil Financial Leasing)
Microlease, Assigned to           4-1                    $50,923.16       $5,092.32            $7,638.48
Attorney Recovery
System, Inc.
                                  31-1                   $5,937.50        $593.75              $890.62
Mohammed Ahsan
Nevil Document Solution           Scheduled              $40.05           $0                   $10.01
(acct # 1241024)
                                  18-1                   $24,918.18       $2,491.82            $3,737.73
Origin to Future Inc
Rahid Ahmad                       Scheduled              $510.00          $0                   $127.50
Software Quality Leaders          Scheduled              $47,444.00       $4,744.40            $7,116.60
Inc
TBrij LLC (dba                    40-1                   $26,798.00       $2,679.80            $4,019.70
Corporation Cars)
TransmediaX                       Scheduled              $4,140.00        $0                   $1,035.00

5
  Claim 12-1 filed by Fleetcor Technologies/Universal Premium was withdrawn by the creditor. See Doc. No. 361.
6
  Amount is prior to federal tax withholding for non-U.S. creditors that will be withheld by the Trustee and paid to
the IRS as required under the law.
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                                  Proof of Claim          Claim            Interim              Second
           Claimant                  Number /            Amount          Distribution        Distribution:
                                    Scheduled                            (previously         Total of 25%
                                      Claim                              made): 10%
                                  Scheduled            $257.60          $25.76             $38.64
TraveloPod Inc.
TRS-Ren Telco, dba                24-1                 $206,838.05 $20,683.81              $31,025.72
McGrant RentCorp


                       CLAIMS NOT INCLUDED IN THE FINAL DISTRIBUTION

          15.      The Trust will not be making any distributions to the following creditors on

account of their scheduled or filed claim. The reason is that, as per the undisputed text of the

Confirmation Order, these claims have been paid, or should have been paid by the Debtor. See

Exhibit A to Confirmation Order, Modifications to Plan, at Doc. No. 305, p.21.                      Therefore,

pursuant to a final order of the Court, any payments on these claims are the responsibility of the

Debtor.

              Claimant                     Proof of Claim Number /            Scheduled or POC Claim
                                              Scheduled Claim                         Amount
3T Productions                           Scheduled                          $93.37
Fed Ex Corporation (POC Fed              47-1                               $2,345.02
Ex Tech Connect)
Great American Financial                 20-17                              $12,160.33
Services Corp.
JAN-PRO of Dallas/Fort                   10-2                               $362.34
Worth
TW Telcom                                Scheduled                          $2,959.64
VAR Resources                            Scheduled                          $8,353.87
Wells Fargo Financial Leasing            1-18                               $8,353.89




7
    Claim was subsequently withdrawn by claimant [Doc. No. 365].
8
    Claim supersedes claim of VAR Resources. Claim was subsequently withdrawn by claimant [Doc. No. 362].
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       WHEREFORE, the Trust respectfully requests that the Court enter an order substantially

in the form of the Final Order authorizing the Trustee to make a final distribution in the amounts

set forth above, entering a final decree, closing the bankruptcy case, and granting to other and

further relief to which the Trust may be justly entitled.

Dated: April 12, 2016.                         Respectfully submitted,


                                              KANE RUSSELL COLEMAN & LOGAN PC


                                              By:      /s/ Jason Binford
                                                       Jason B. Binford
                                                       State Bar No. 24045499

                                               3700 Thanksgiving Tower
                                               1601 Elm Street
                                               Dallas, Texas 75201
                                               Telephone - (214) 777-4200
                                               Telecopier - (214) 777-4299
                                               Email: jbinford@krcl.com; ecf@krcl.com

                                               ATTORNEYS FOR THE GTL CREDITORS TRUST


                                 CERTIFICATE OF SERVICE


        I hereby certify that on April 12, 2016 a true and correct copy of the foregoing has been
served on all parties receiving ECF Notification at the date and time filed and on the attached
creditor matrix via U.S. First Class mail.


                                                /s/ Jason B. Binford
                                               Jason B. Binford




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